Office of Harris County District Clerk - Marilyn Burgess                    Page 1 of 2
        Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 1 of 40



 HCDistrictclerk.com            DEARMON, JOHN W (JR) vs. AMICA MUTUAL                                   6/18/2019
                                INSURANCE COMPANY
                                Cause: 201932103  CDI: 7    Court: 157

 APPEALS
 No Appeals found.

 COST STATMENTS
 No Cost Statments found.

 TRANSFERS
 No Transfers found.

 POST TRIAL WRITS
 No Post Trial Writs found.

 ABSTRACTS
 No Abstracts found.

 SETTINGS
 No Settings found.

 NOTICES
 No Notices found.

 SUMMARY
 CASE DETAILS                                                CURRENT PRESIDING JUDGE
 File Date                    5/8/2019                       Court        157th
 Case (Cause) Location                                       Address      201 CAROLINE (Floor: 11)
                                                                          HOUSTON, TX 77002
 Case (Cause) Status          Active - Civil
                                                                          Phone:7133686230
 Case (Cause) Type            Motor Vehicle Accident
                                                             JudgeName    TANYA GARRISON
 Next/Last Setting Date       N/A
                                                             Court Type   Civil
 Jury Fee Paid Date           N/A



 ACTIVE PARTIES
 Name                                             Type                                      Post Attorney
                                                                                            Jdgm
 DEARMON, JOHN W (JR)                             PLAINTIFF - CIVIL                                  DOWNEY,
                                                                                                     MICHAEL
                                                                                                     ANDREW II
 AMICA MUTUAL INSURANCE COMPANY                   DEFENDANT - CIVIL                                  MCCLUGGAGE,
                                                                                                     ANDREW J.
 CARRILLO, JOSE S                                 DEFENDANT - CIVIL                                  MCCLUGGAGE,
                                                                                                     ANDREW J.
      10 OAK CT APT 5104, HOUSTON, TX 77006

                                                  REGISTERED AGENT




                                                                                                 EXHIBIT B
https://www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=g8B7Xb7K+I... 6/18/2019
Office of Harris County District Clerk - Marilyn Burgess                    Page 2 of 2
        Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 2 of 40


 AMICA MUTUAL INSURANCE COMPANY MAY
 BE SERVED BY SERVING ITS ATTORNEY
       2150 TOWN SQUARE PL STE 600, SUGAR LAND, TX 77479-1465



 INACTIVE PARTIES
 No inactive parties found.

 JUDGMENT/EVENTS
 Date  Description                                 Order      Post Pgs Volume Filing                      Person
                                                   Signed     Jdgm     /Page Attorney                     Filing
 6/17/2019   ANSWER ORIGINAL PETITION                                 0                MCCLUGGAGE,        CARRILLO, JOSE S
                                                                                       ANDREW J.
 6/17/2019   ANSWER ORIGINAL PETITION                                 0                MCCLUGGAGE,        AMICA MUTUAL
                                                                                       ANDREW J.          INSURANCE
                                                                                                          COMPANY
 5/8/2019    ORIGINAL PETITION                                        0                DOWNEY, MICHAEL    DEARMON, JOHN W
                                                                                       ANDREW II          (JR)



 SERVICES
 Type Status                    Instrument Person           Requested Issued Served Returned Received Tracking Deliver
                                                                                                               To
 CITATION SERVICE         ORIGINAL               AMICA     5/8/2019       5/16/2019 5/22/2019                    73623375   E-MAIL
          RETURN/EXECUTED PETITION               MUTUAL
                                                 INSURANCE
                                                 COMPANY
                                                 MAY BE
                                                 SERVED BY
                                                 SERVING
                                                 ITS
                                                 ATTORNEY
       2150 TOWN SQUARE PL STE 600 SUGAR LAND TX 77479

 CITATION SERVICE ISSUED/IN ORIGINAL             CARRILLO, 5/8/2019       5/16/2019                              73623378   E-MAIL
          POSSESSION OF     PETITION             JOSE S
          SERVING AGENCY
       10 OAK CT APT 5104 HOUSTON TX 77006



 DOCUMENTS
 Number          Document                                                                            Post Date              Pgs
                                                                                                     Jdgm
 85759492        Amica Mutual Insurance Company Original Answer, Verified Denial and Affirmative          06/17/2019        4
                 Defenses
 85759493        Jose S Carrillos Original and Affirmative Defenses                                       06/17/2019        3
 85413297        Citation Return                                                                          05/24/2019        3
 85413306        Citation Return                                                                          05/24/2019        3
 85154288        Plaintiff's Original Petition                                                            05/08/2019        15




https://www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=g8B7Xb7K+I... 6/18/2019
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 3 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 4 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 5 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 6 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 7 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 8 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 9 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 10 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 11 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 12 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 13 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 14 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 15 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 16 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 17 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 18 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 19 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 20 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 21 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 22 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 23 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 24 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 25 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 26 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 27 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 28 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 29 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 30 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 31 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 32 of 40
Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 33 of 40
     Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 34 of 40                               6/17/2019 9:49 AM
                                                                                Marilyn Burgess - District Clerk Harris County
                                                                                                     Envelope No. 34413480
                                                                                                           By: LISA COOPER
                                                                                                    Filed: 6/17/2019 9:49 AM

                                       CAUSE NO.
                                       CAUSE NO. 2019-32103
                                                 2019-32103

JOHN    DEARMON, JR.,
     w. DEARMON,
JOHN W.                                             §§         THE DISTRICT
                                                            IN THE
                                                            IN              COURT OF
                                                                   DISTRICT COURT OF
                                                    §§
         Plaintiff,                                 §§
                                                    §§
v.                                                  §§        HARRIS COUNTY,
                                                              HARRIS         TEXAS
                                                                     COUNTY, TEXAS
                                                    §§
AMICA MUTUAL INSURANCE
AMICA MUTUAL INsURANCE                              §§
COMPANY AND
COMPANY AND JOSE
            JOSE S. CARRILLO,
                    CARRILLO,                       §§
                                                    §§
         Defendants.                                §§       157TH JUDICIAL DISTRICT
                                                             157TH JUDICIAL DISTRICT
     AMICA MUTUAL INSURANCE
     AMICA MUTUAL            COMPANY ORIGINAL
                  INSURANCE COMPANY           ANSWER, VERIFIED
                                     ORIGINAL ANSWER, VERIFIED
                         AND AFFIRMATIVE
                 DENIAL. AND
                 DENIAL,     AFFIRMATIVE DEFENSES
                                         DEFENSES
         TO THE
         TO     HONORABLE JUDGE
            THE HONORABLE JUDGE OF
                                OF SAID COURT:
                                   SAID COURT:

                   Amica Mutual
         Defendant Amica                  Company (“Defendant”) hereby files
                         Mutual Insurance Company                      ﬁles its Original

        Veriﬁed Denial, Request for Disclosure, and Jury Demand,
Answer, Verified                                                     would respectfully
                                                         Demand, and would

show the Court as follows:
show

                                            VERIFIED
                                         I. V        DENIAL
                                             ERIFIED DENIAL

         1.1
         1.1                Amica Mutual
                  Defendant Amica                  Company denies, under Texas Rule of
                                  Mutual Insurance Company                          of Civil

Procedure 93(15),                                                of the policy as a condition
          93(l5), that Plaintiff has complied with all the terms of

precedent to bringing suit.

                                             GENERALDENIAL
                                         II. GENERAL DENIAL

         2.1
         2.1                                                    Plaintiff’ s live Petition and requests
                  Defendant generally denies the allegations in Plaintiff’s

                                        them by
that the Plaintiff be required to prove them                    of the evidence by
                                             by a preponderance of                          of the
                                                                                by the laws of

State of Texas.

                                          ADDITIONAL
                                     III. A          DEFENSES
                                           DDITIONAL DEFENSES

         3.1
         3.1      For further Answer, if                                          Plaintiff has
                                      if such be necessary, Defendant denies that Plaintiff


complied with all necessary conditions precedent to filing                       damages from
                                                    ﬁling suit and/or recovering damages

Defendant.
                                                    1
7015623v2
7015623v2
1 1697.082
11697.082
    Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 35 of 40



                                       IV. JJURY DEMAND
                                             URY DEMAND

         4.1
         4.1   Defendant hereby relies upon                 demand for a trial by
                                       upon the Plaintiff’s demand             by jury.

                                    REQUEST
                                 V. R       FOR D
                                     EQUEST FOR DISCLOSURE
                                                 ISCLOSURE

         5.1
         5.1   Under      194 of the Texas Rules of
               Under Rule 194                    of Civil Procedure, Defendant requests that

                                            of service of
Plaintiff disclose, within thirty (30) days of         of this request, the information
                                                                            infonnation described in

     194.2 (a) —

                                                ml
Rule 194.2     – (l).
                 (1).



                                           VI. PRAYER

         WHEREFORE, PREMISES
         WHEREFORE, PREMISES CONSIDERED,
                             CONSIDERED, Defendant Amica
                                                   Amica Mutual
                                                         Mutual Insurance

Company respectfully pray that Plaintiff takes nothing of and from Defendant, and that
Company

                             of Court, and for such other and further relief, both at law and in
Defendant receives all costs of

                           may show
           which Defendant may
equity, to which               show to be justly entitled.


                                              Respectfully submitted,

                                              THOMPSON, COE,
                                              THOMPSON, COE, COUSINS & IRONS,
                                                             COUSINS & IRONS, L.L.P.



                                              By: ______________________________________
                                                     ANDREW J. MCCLUGGAGE
                                                     State Bar No. 24065708
                                                     RAYMOND M. KUTCH
                                                           Bar No.
                                                     State Bar      24072195
                                                               No. 24072195
                                                     One Riverway, Suite 1400
                                                     One                  1400
                                                                      77056
                                                     Houston, Texas 77056
                                                             (713)403-8210
                                                     Phone: (713)  403-8210
                                                                   403-8299
                                                     Fax: (713) 403-8299
                                                             amccluggage@thompsoncoe.com
                                                     Email: amccluggage@thompsoncoe.com
                                                             rkutch@thompsoncoe.com
                                                             rkutch@thompsoncoe.com

                                                        FOR DEFENDANT
                                              ATTORNEYS FOR
                                              ATTORNEYS               AMICA
                                                            DEFENDANT AMICA
                                              MUTUAL INSURANCE
                                              MUTUAL           COMPANY
                                                     INSURANCE COMPANY



                                                 2
7015623v2
7015623v2
1 1697.082
11697.082
    Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 36 of 40



                                CERTIFICATE OF SERVICE
                                CERTIFICATE OF SERVICE
                              on June 17,
        I hereby certify that on                                    copy of
                                      17, 2019, a true and correct copy                   document
                                                                         of the foregoing document
was
was served upon       known counsel by
             upon all known           by  electronic service in accordance  with the Texas       of
                                                                                           Rules of
Civil Procedure:

           Downey
Michael A. Downey
        Law
Mostyn Law
Mostyn
3810 West
3810       Alabama Street
     West Alabama
          TX 77027
Houston, TX   77027
                  714-0000
Telephone: (713) 714-0000
Telephone:
                 714-1111
Telecopy: (713) 714-1111
maddocketeﬁle@mostmlaw.com
maddocketefile@mostynlaw.com
Attorney for Plaintiff
         for Plaintiff




                                                         Raymond   M
                                                               M. Kutch
                                                     /s/ Raymond
                                                     A9/
                                                     Raymond M.
                                                     Raymond M. Kutch
                                                                Kutch




                                                3
7015623v2
7015623v2
116537.082
11697.082
    Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 37 of 40




                      /
                                                                        VERIFICATION



                          Q51
 STATE OF [—/A                         45
COUNTY OF
                                                            €0‘=<01@§




             BEFORE ME, THE UNDERSIGNED AUTHORITY,                                                     on   this   day personally appeared

                                              IV:
                                                    l
                  c='>                                  1               who,   after being   duly sworn, stated under oath that he
                                   .                        ,                                                                                       is   a

duly authorized representative of Defendant Amica Mutual Insurance Company. he has read the

above Original Answer of Defendant Amica Mutual Insurance Company, and                                                                  that.   upon

infonnation and belief, every statement contained in Section                                      I   of the Original Answer            is   true   and




             SUBSCRIBED AND SWORN TO BEFORE ME on this the                                                    l      day ofJune 20l9.



                                                                                      Notary Public
                                                                                                              [/%1/
                                                                                                              V //         7
(SEAL)

                                                                                             an. r rvu? N UCLLCru'&2_
                                                                                      Printed   Name of Notary                  /

    {A:#”P°%          Marta Vazquez                                                   My Commission          Expires:     C‘)   l   i
                                                                                                                                        ‘iii    Z0 17.
                      Mycomnuss-on E)tp1fuS
             ix, 3
      :5.’       <3


                           0
                      °:;lb‘¢7l2i)t)2§a5093

    E3.,Fd'§
                      t




7015623v2
11697082
     Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 38 of 40                               6/17/2019 9:49 AM
                                                                                Marilyn Burgess - District Clerk Harris County
                                                                                                     Envelope No. 34413480
                                                                                                           By: LISA COOPER
                                                                                                    Filed: 6/17/2019 9:49 AM

                                       CAUSE NO. 2019-32103

JOHN W. DEARMON, JR.,                              §        IN THE DISTRICT COURT OF
                                                   §
        Plaintiff,                                 §
                                                   §
v.                                                 §          HARRIS COUNTY, TEXAS
                                                   §
AMICA MUTUAL INSURANCE                             §
COMPANY AND JOSE S. CARRILLO,                      §
                                                   §
        Defendants.                                §         157TH JUDICIAL DISTRICT

            JOSE S. CARRILLO’S ORIGINAL AND AFFIRMATIVE DEFENSES

        TO THE HONORABLE JUDGE OF SAID COURT:

        Defendant Jose S. Carillo (“Defendant”) and hereby files his Original Answer, Request

for Disclosure, and Jury Demand, and would respectfully show the Court as follows:

                                         I. GENERAL DENIAL

        1.1       Defendant generally denies the allegations in Plaintiff’s live Petition and requests

that the Plaintiff be required to prove them by a preponderance of the evidence by the laws of the

State of Texas.

                                     III. ADDITIONAL DEFENSES

        2.1       For further Answer, if such be necessary, Defendant denies that Plaintiff has

complied with all necessary conditions precedent to filing suit and/or recovering damages from

Defendant.

                                          IV. JURY DEMAND

        3.1       Defendant hereby relies upon the Plaintiff’s demand for a trial by jury.

                                                   V.




                                                   1
7024099v1
11697.082
    Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 39 of 40



                                 V. REQUEST FOR DISCLOSURE

        4.1    Under Rule 194 of the Texas Rules of Civil Procedure, Defendant request that

Plaintiff disclose, within thirty (30) days of service of this request, the information described in

Rule 194.2 (a) – (l).

                                           VI. PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant Jose S. Carrillo respectfully

prays that Plaintiff take nothing of and from Defendant, and that Defendant receives all costs of

Court, and for such other and further relief, both at law and in equity, to which Defendant may

show to be justly entitled.


                                              Respectfully submitted,

                                              THOMPSON, COE, COUSINS & IRONS, L.L.P.



                                              By: ______________________________________
                                                     ANDREW J. MCCLUGGAGE
                                                     State Bar No. 24065708
                                                     RAYMOND M. KUTCH
                                                     State Bar No. 24072195
                                                     One Riverway, Suite 1400
                                                     Houston, Texas 77056
                                                     Phone: (713) 403-8210
                                                     Fax: (713) 403-8299
                                                     Email: amccluggage@thompsoncoe.com
                                                            rkutch@thompsoncoe.com

                                              ATTORNEYS FOR DEFENDANT AMICA
                                              MUTUAL INSURANCE COMPANY and JOSE
                                              CARILLO.




                                                 2
7024099v1
11697.082
    Case 4:19-cv-02224 Document 1-2 Filed on 06/20/19 in TXSD Page 40 of 40



                               CERTIFICATE OF SERVICE

        I hereby certify that on June 17, 2019, a true and correct copy of the foregoing document
was served upon all known counsel by electronic service in accordance with the Texas Rules of
Civil Procedure:

Michael A. Downey
Mostyn Law
3810 West Alabama Street
Houston, TX 77027
Telephone: (713) 714-0000
Telecopy: (713) 714-1111
maddocketefile@mostynlaw.com
Attorney for Plaintiff




                                                    /s/ Raymond M. Kutch
                                                    Raymond M. Kutch




                                               3
7024099v1
11697.082
